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 1

 2
                                                              The Honorable John C. Coughenour
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 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
                                         )
 9   MATTHEW ADAMS, GLENN CRESPO,        )
     CONNOR DAY, KATIE GAN, and          )          No.    13-CV-338-JCC
10   SOLEDAD PICON,                      )
                                         )          ANSWER AND AFFIRMATIVE
11                          Plaintiffs,  )          DEFENSES TO PLAINTIFF’S
                                         )          COMPLAINT
12              vs.                      )
                                         )
13   DAVID BAUER, JACOB BRISKEY,         )          JURY TRIAL DEMANDED
     LINDSAY BROWN, BRUCE CREAMER,       )
14   LLOYD HARRIS, STEPHEN KNAPP,        )
     STEPHANIE MARKS, NATHAN             )
15   PATTERSON, ADAM THORP, JOHN and     )
     JANE DOES, and THE CITY OF SEATTLE, )
16                                       )
                            Defendants.  )
17                                       )

18
            COMES NOW defendant City of Seattle, by and through its attorneys of record, Peter S.
19
     Holmes, Seattle City Attorney, Dominique’ L. Jinhong, Assistant City Attorney, Brian Maxey,
20
     Assistant City Attorney, and hereby submits its Answer and Affirmative Defenses to Plaintiff’s
21
     Complaint, and alleges as follows:
22

23


     ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S                            Peter S. Holmes
                                                                               Seattle City Attorney
     COMPLAINT (13-CV-338-JCC) - 1                                             600 Fourth Avenue, 4th Floor
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                                                                               Seattle, WA 98124-4769
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 1                                                       Preamble

 2              Plaintiffs makes a number of factual assertions in their preamble to the below sections and

 3   allegations, to which defendant City of Seattle wholly denies.

 4                                                  I.       PARTIES
     1.1.        Plaintiffs
 5
            1.1.1. Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the
 6
                     allegations set forth, and hereby denies the same.
 7
            1.1.2. Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the
 8
                     allegations set forth, and hereby denies the same.
 9
            1.1.3. Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the
10
                     allegations set forth, and hereby denies the same.
11
            1.1.4. Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the
12
                     allegations set forth, and hereby denies the same.
13
            1.1.5. Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the
14
                     allegations set forth, and hereby denies the same.
15
     1.2        Defendants
16
            1.2.1.      Defendant admits.
17
            1.2.2.      Defendant admits.
18
            1.2.3.      Defendant admits.
19
            1.2.4.      Defendant admits.
20
            1.2.5.      Defendant admits.
21
            1.2.6.      Defendant admits.
22
            1.2.7.      Defendant admits.
23


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 1     1.2.8.        Defendant admits.

 2     1.2.9.        Defendant admits.

 3     1.2.10.       Defendant admits.

 4                                    II.    JURISDICTION AND VENUE

 5     2.1.          Defendant admits jurisdiction.

 6     2.2.          Defendant admits venue is proper.

 7                                                 III.    FACTS

 8     3.1.          Defendant admits.

 9     3.2.          Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

10            allegations set forth, and hereby denies the same.

11     3.3.          Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

12            allegations set forth, and hereby denies the same.

13     3.4.          Defendant denies all allegations.

14     3.5.          Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

15            allegations set forth, and hereby denies the same.

16     3.6.          Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

17            allegations set forth, and hereby denies the same.

18     3.7.          Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

19            allegations set forth, and hereby denies the same.

20     3.8.          Defendant denies all allegations.

21     3.9.          Defendant denies all allegations.

22     3.10.         Defendant denies all allegations.

23     3.11.         Defendant denies all allegations.


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 1     3.12.      Defendant denies all allegations.

 2     3.13.      Defendant denies all allegations.

 3     3.14.      Defendant denies all allegations.

 4     3.15.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

 5        allegations set forth, and hereby denies the same.

 6     3.16.      Defendant denies all allegations.

 7     3.17.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

 8        allegations set forth, and hereby denies the same.

 9     3.18.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

10        allegations set forth, and hereby denies the same.

11     3.19.      Defendant denies all allegations.

12     3.20.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

13        allegations set forth, and hereby denies the same.

14     3.21.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

15        allegations set forth, and hereby denies the same.

16     3.22.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

17        allegations set forth, and hereby denies the same.

18     3.23.      Defendant lacks sufficient knowledge to form a belief as to the truth or falsity of the

19        allegations set forth, and hereby denies the same.

20     3.24.      Defendant denies all allegations.

21     3.25.      The allegations in this paragraph are conclusions of law, not facts warranting a

22        response.

23     3.26.      Defendant denies all allegations.


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 1                                                IV.     CLAIMS

 2                                           FIRST CAUSE OF ACTION
                                (Federal Civil Rights Violation Under 42 U.S.C. § 1983)
 3
         4.1. Defendant denies.
 4
         4.2. Defendant denies.
 5
             4.2.1. Defendant denies.
 6
             4.2.2. Defendant denies.
 7
             4.2.3. Defendant denies.
 8
             4.2.4. Defendant denies.
 9
             4.2.5. Defendant denies.
10
             4.2.6. Defendant denies.
11
             4.2.7. Defendant denies.
12
             4.2.8. Defendant denies.
13
             4.2.9. Defendant denies.
14
             4.2.10. Defendant denies.
15
         4.3. Defendant denies.
16
                                               SECOND CAUSE OF ACTION
17                                                    (State Law)

18       4.4. Defendant denies.

19                                        V.      RELIEF REQUESTED

20           Answering plaintiff’s last paragraph requesting relief, Defendant denies that Plaintiff is

21   entitled to any of the relief requested in any of the paragraphs identified in ¶¶5.1-5.4 of this section.

22                                              AFFIRMATIVE DEFENSES

23           1.      Plaintiffs have failed to state a claim upon which relief may be granted.


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 1          2.      The City, a municipal corporation, is immune from liability for prejudgment interest

 2   on tort judgments and is immune from punitive damages.

 3          3.      Defendant City has not violated any rights, privileges or immunities under the

 4   Constitution or laws of the United States or the State of Washington or any political subdivision

 5   thereof.

 6          4.      At all times relevant to the acts alleged in the complaint, the duties and functions of

 7   Defendant City’s officials entailed the reasonable exercise of proper and lawful discretion.

 8          5.      Plaintiffs’ State law claims are barred in whole, or in part, by governmental

 9   immunity for discretionary, policy-making, and/or judgmental functions and decisions.

10          6.      Any injury alleged to have been sustained resulted from plaintiff’s own culpable or

11   negligent conduct was not the proximate result of any act of the defendants.

12          7.      Plaintiffs failed to mitigate any injury suffered.

13          8.      There was probable cause for plaintiffs’ detention and arrest.

14          9.      Exigent circumstances justified entry to non-party Stoffel’s curtilage.

15          10.     Any force used against plaintiffs was reasonable.

16          11.     Plaintiffs’ intentional tort claims are barred by the applicable statute of limitations.

17          DATED this 26th day of March, 2013.

18                                                 PETER S. HOLMES
                                                   Seattle City Attorney
19
                                           By:     s/Dominiqué L. Jinhong
20                                                 Dominiqué L. Jinhong, WSBA #28293
                                                   Email: dominique.jinhong@seattle.gov
21
                                           By:     s/Brian G. Maxey
22                                                 Brian G. Maxey, WSBA #33279
                                                   Email: brian.maxey@seattle.gov
23


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 1                                     Assistant City Attorneys
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 3                                     Ph: (206) 684-8200
                                       Fax: (206) 684-8284
 4
                                       Attorneys for Defendants
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 1
                                       CERTIFICATE OF SERVICE
 2
            I, Brian Maxey, certify that on the 26th day of March, 2013, I electronically filed the
 3
     Answer of Defendant City of Seattle with the Clerk of the Court using the CM/ECF system,
 4
     which will send notification of such filing to the following attorneys of record:
 5
                    Attorneys for Plaintiffs:
 6                         Timothy K. Ford, timf@mhb.com
                           David J. Whedbee, davidw@mhb.com
 7
                    Attorneys for Defendants:
 8                         Dominiqué Jinhong, dominique.jinhong@seattle.gov
                           Brian Maxey, brian.maxey@seattle.gov
 9
            DATED this 25th day of March, 2013.
10

11                                         s/ Brian Maxey
                                           Brian Maxey
12

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